Case 1:17-mc-00151-LPS Document 279 Filed 06/03/21 Page 1 of 13 PageID #: 7529


                                                                                                  ADELSO ADRIANZA
                                                             113 Washington Street - Newton, MA 02458 - U.S.A.
                                                                    M : (859) 803-2279 I aaadrianza@gmail.com

                                                                                                           June 1, 202 1
The Honorable
Chief Judge Leonard Stark
U.S. District Court - Delaware
844 N. King Street, Unit 26, Room 6124
Wilmington, DE 19801-3555

Dear Chief Judge Stark,

     This communication is about Crystallex International Corporation {Case 1:17-mc-00151-LPS,
the Company} and regarding this Court' s order appoint ing the Special Master (D.I. 258} to prepare
the execution of the money judgement the Company holds against Venezuela (the Republic} . I am
writing this letter, pro se, as one of the hundreds of U.S. citizens that are beneficial owners of
shares in the Company, which my w ife and I acquired over many years as investment for our
retirement and our children ' s college edu cation .

I.   BACKGROUND
     The motivation behind this letter is the long-stand ing concern on my part, which is shared by
many similarly situated shareholders, that the ir economic interests and rights have been and
continue to be disregarded by four of the five directo rs (the Interested Directors} on the Company' s
Board of Directors (BOD} through the impl icit lack of adequate representation . The Company' s
filing for insolvency protection in Canada wa s predicated on the opportunity to pursue the
arbitration against the Republic to pay its creditors in full and for the benefit of its shareholders .
The value of the expropriated gold mine (set at $3.4 billion in the arbitration request} and US$ 110
million in unsecured debt underscored the strength of the Company' s representations regard ing
the opportunity and the CCAA filing objectives, which were fully endorsed by the CCAA Court in no
uncertain terms . The following statements make thi s self-evident .

 A. Robert Fung, President and Chairman of the BOD :

     "Crystallex firmly believes that a CCAA is the m ost fa ir and equitable way to obtain
     maximum value for all Crystallex's shareholders ."

     Bankr. D. Del. Ca se No. 1 1:11-bk- 14074, D.I. 2 - Exh. B (CCAA Affidavit of Robert Fung sworn Dec. 22, 2011 )
     at 79.1

     " ... the issuance of an initial order under the CCAA provisions is necessary and desirable to
     facilitate the prosecution of arbitration , an orderly payment of Crystallex's debt and assurance
     of residual benefit to Crystallex's shareholders" .

     Ibid at 88.




                                                                                                 Adelso Adrianza 1 I P a g e
Case 1:17-mc-00151-LPS Document 279 Filed 06/03/21 Page 2 of 13 PageID #: 7530




B. The CCCA Monitor's DIP Financing Bid Terms Dated Jan. 20, 2012

    DD. Lender Back-End Entitlement means consideration (in addition to repayment of principal
       and interest) paid to the Lender in the form of: (i) a payment obligation of Crystallex
       contingent upon the value of the et Arbitration Proceeds; (ii) an equity interest in Clystallex;
       or (iii) a right to convert amounts outstanding under the Financing to an equity interest in
       Crystallex; provided, however, that the structure, t iming of receipt, and quantum of such
       additional consideration shall conform to all applicable legal requirements, including but not
        limited to, Canadian usury laws . In no circumstance shall the Lender Back-End Entitlement
        involve, or contemplate directly or indirectly, either (i) an acquisition of control of Crystal lex,
        (ii) an acquisition of any interest in the Arbitration Proceeding, or (iii a receipt of value
       exceeding a minority of the et Arbitration Proceeds.


C. The initial CCAA Court Order

    (13] The Crystal lex application seeks the authority to file a plan of compromise and arrangement,
          an order that it remain in possession of its assets with the authority to continue to pursue
         the arbitration against Venezuela and continue to retain all of the various experts necessary
         for that purpose .

    (20] The CCAA is intended to provide a structured environment for negotiation of compromises
         between a debtor company and its creditors for the benefit of both . Where a debtor
         company realistically plans to continue operating or to otherwise deal with its assets, but it
         requires the protection of the court in order to do so and it is otherwise too early for the
         court to determine whether the debtor company will succeed, relief should be granted
         under the CCAA. See Re Lehndorff General Partner Ltd, {1993), 17 C.B.R. {3d) 24, per Farley
         J, the benefit to a debtor company could, depending upon the circumstances, mean a
         benefit to its shareholders .

    (24] Crystallex has spent over $500 million on the project . In the event that Crystallex only
         recovered that amount without interest and without any compensation for the loss of the
         ability to develop the project, Crystallex would still have more than enough to pay all of its
         debts and have substantial value left over for its shareholders .

    Bankr. D. Del. Case No . 11:11-bk-14074, D.I. 2 - Exh . A

     [Emphasis added.]

II . THE HARM TO THE ESTATE
   The arbitrati o n award issued to the Company by the ICSID established that the Republic was
require d t o compensate it for its gold mining operat ion expropriation as follows :

      Component                                                         US$ M illions
         •    Award                                                              1,200
         •    Pre -Award Interest                                                  200
          •   Post-Award Interest (est . thru . Dec . 2020)                        200
                                                         Total                 $1,600




                                                                                           Adelso Adrianza 2 I P a g e
Case 1:17-mc-00151-LPS Document 279 Filed 06/03/21 Page 3 of 13 PageID #: 7531


   In the failed settlement agreements (Settlement Agreements} with the Republic, the Company
gave up the value of the pre- and post-award interest (worth $400 million as of the end of 2020)
as well as the value of the La Cristinas mining data (worth at least $300 million) to entice the
Republic to enter agreements advantageous to the Controlling DIP Lender and the Interested
Directors. Proof of this can be found in the settlement agreement between Gold Reserve and the
Republic in Aug. 2016, which preceded the company' s Amended Settlement Agreements (the ASA)
by over two years (Nov. 2018) .

   The Settlement Agreements with the Republic resulted in the following payments:

      Paym ents                                                   US$ Millions
          •   Settlement Agreement                                           75
          •   Amended Settlement Agreement
                        o   Cash                                             75
                        o   Venezuelan Securities                           350
                                                    Total                  $500


   The Company has not been able to monetize the Venezuelan securities it received as part of
the initial payment for the ASA, given the U.S. economic sanctions placed on the Republic on
securities issued by it. Selling the securities requires a license from the Dept. of Treasury's OFAC,
which the Company requested but has not received. In the ASA, the Republic committed to make
the Company whole if the securities involved would lose value in the interim period up until the
agreement was perfected .

    The Canada - Venezuela Bilateral Investment Treaty for the Promotion and Protection of
Investments (Article VII - Expropriation, No. 1}, which was the basis for the ICSID arbitration award,
stipulates that that investments cannot be expropriated "except for a public purpose, under due
process of law, in a non-discriminatory manner and against prompt, adequate and effective
                   11
compensation ... and "shall be paid without delay and shall be effectively realizable and freely
              11
transferable. [Emphasis added].

   The settlement agreements became void and null when the Republic reneged on the
commitments made therein . Hence, the Company is not bound to any terms and conditions agreed
thereto .

     Recent indications by the Company and the CCAA Monitor regarding the uncertainty about the
full realization of the award are puzzling considering the Company's position in the execution of
the writ of attachment on the CITGO shares .

The CCAA Monitor's Report# 33 Dated April 30, 2020

    17. Notwithstanding the challenges and material adverse developments described above, the
        Applicant continues to pursue its dual-track strategy with respect to the Award. HoweverL
        there are increasing uncertainties in terms ch im ing and quantum of proceeds realizable from
        the Award . Therefore. while the Applicant' s desire is to have some recovery for its
        shareholders, the Monitor's view is that such result is uncertain at this time .



                                                                                     Adelso Adrianza 3 I P a g e
Case 1:17-mc-00151-LPS Document 279 Filed 06/03/21 Page 4 of 13 PageID #: 7532



CCAA Motion Dated May 4, 2021- Robert Fung Affidavit (Page 11)

   11. .. . As will be discussed below, the Initial Payment Securities do not represent a good prospect of
   recovery for the Company's stakeholders at this time because they cannot be liquidated [what follows
   is redacted] .

   Ernst & Young Restructuring Document Center {https://do cum entcentre.ey.com/#/detail -engmt?eid=166)
   [Emphasis added] .

    The foregoing are the Company' s and the Monitor's misrepresentations that short-change the
Estate's right to full and effective compensation as established in the ICSID award and the money
judgment by U.S. Courts . Importantly, the Venezuelan securities involved had a $350 million
market value at the time the initial payment on the ASA was made, November 2018, and the
agreement committed the Republic to make the Company whole for any loss in value until it was
perfected . Today, the securities are worth a fraction of the original value and is doubtful they can
be sold, given lingering questions about their provenance .

    In addition to the above-mentioned gifts to the Republic, the Company is g1v1ng up the
collection of the costs involved in the Republic' s protracted legal strategy to prevent and delay the
payment of a money judgement that has been confirmed valid and enforceable by U.S. Courts all
the way up to the U.S. Supreme Court. As required by its fiduciary position, the Debtor in Possession
(DIP) has the duty to protect the interests and property of the Estate by recovering the significant
losses the Company has suffered over the five years since the ICSID issued the award . The award
was issued to wipe out all the consequences of the illegal act by the Republic and reestablish the
company' s situation to what would have existed if that illegal act had not been committed . Per
Delaware Law, the Estate is entitled to such recovery :

   RULE 54.1. Taxation of Costs .
   (a) Costs.
   (1) Unless otherwise ordered by the Court, the prevailing party shall be entitled to costs.
   The party shall, within 14 days after the time for appeal has expired or within 14 days
   after the issuance of the mandate of the appellate court, file a bill of costs . Failure to
   comply with the time limitations of this Rule shall constitute a waiver of costs, unless the
   Court otherwise orders, or counsel are able to agree on the payment of costs. In the latter
   case, no bill of costs need be filed.

By diminishing the value of the NAP through gifts and the abandonment of property and
opportunities to advance the interests of the Estate, the DIP, which is under the Control of the
Interested Directors and the Controlling DIP Lender, is inflicting irreparable harm to it and negating
it the possibility to emerge from insolvency as a going concern .

Ill. STRUCTURED DISMISSAL
     The harm to the Estate and the consequential harm to the shareholders is to be carried out
through the distribution of the Estate' s property via the execution of the structured dismissal in
the Financing Credit Agreement (the Credit Agreement) the Company entered to fund the ICSID
Arbitration and the award collection . The Mechanics of Distribution (MOD, Schedule F) in the Credit



                                                                                        Adelso Adrianza 4 I P a g e
Case 1:17-mc-00151-LPS Document 279 Filed 06/03/21 Page 5 of 13 PageID #: 7533


Agreement sets forth the distribution of th e Estate's property to pay the administrative co sts
incurred, to settle all debts dollar-for-dollar, pay all interest due on the debt and allocate the
remaining property, defined as the Net Arbitration Proceeds {NAP}, to the Controlling DIP Lender,
as a special compensation per a contractual cont ingent liab ility, and the Estate, as its residual value .
Twenty five percent {25%} of the Estate' s residual value is pledged to pay for the Management
Incentive Plan {MIP}, which was establ ished to compensate selected Company directors and
executives for their efforts in pursu ing and colle cting the arbitration award . The MIP is in add ition
to the regular compensation and the NAP Tran sfer Agreement {worth close to $100 mill ion)
entered by two of the four Interested Directors and the DIP Lender to offset the dilution of the
Estate' s NAP share from 65 % to 12%. The other two Interested Directors are the founding partner
and Chief Operating officer of the DIP Lender . In addition , the Estate is requ ired to use its share of
the NAP to cover the cost of the arb itration and bankruptcy proceedings, the reimbursement of
the expenses incurred by the Noteholders in the ir failed legal actions in Canada against the
Company and other expenses . Notably, the English system used in Canada requires the losing pa rty
to pay the costs of the winning party.

   The $76 Million DIP Loan entitles the Controlling DIP Lender to 10% P.I.K. interest p.a.
(estimated to be worth $200 million as of Dec. 2020} and 88% of the NAP (estimated to be worth
$800 million) by means of a contingent liab ility right that may be converted into the Company' s
common stock in proportion to the NAP Share {i. e., 88% of the common stock). The DIP financ ing
auction established a 35% share of the NAP as special compensation for the $35 million DIP loan
that the Company's legal counsel in the arb itrat ion proceedings {Freshfields Bruckhaus Deringer)
purportedly determined to be sufficient to pursue th e arbitration effort, which on average require s
close to four years . Prolific spending by the Company requ ired $41 million in additional fund ing
that per the Credit Agreement could only be provi ded by the Controlling DIP Lender, which raised
its NAP share to 88%.

    In Court filings, the company has expressed its intention to use the MOD to effectuate the
distribution of the Estate' s property:

CCAA Court Motion Dated May 4, 2021

    13 . The Company's continued success in such efforts is necessary to permit Crystallex to
         ultimately make distributions to its sta keholders in accordance with the Court-
         approved waterfall.

        Ern st & Young     Rest ructuri ng   Documen t   Center   (htt ps://do cum entce ntre .ey.com/#/ det ail -
        engmt ?eid =166)

    Being the Credit Agreement a financing contract between a besieged insolvent company and a
lender, which is, by its nature, not an arms-length transaction {as corroborated by its own terms
and conditions}, the use of the MOD to effectuate the Estate' s property distribution is tantamount
to a distribution through a structured dismi ssa l. As such , it contravenes U.S. Law . As the U.S.
Supreme Court decided in Czyzewski v. Jevic Holding Corp., No. 15-649, S. Ct., 2017 WL 1066259):

    The priority system applicable to those di stributions has long been considered
    fundamental to the Bankruptcy Code' s operation . See H. R. Rep . No . 103-835, p. 33 {1994)



                                                                                              Ade lso Adrianza 5     I Page
Case 1:17-mc-00151-LPS Document 279 Filed 06/03/21 Page 6 of 13 PageID #: 7534


   (explaining that the Code is "designed to enforce a distribution of the debtor's assets in
   an orderly manner .. . in accordance with established principles rather than on the basis
   of the inside influence or economic leverage of a particular creditor"); ... [p. 12]

   We recognize that the Third Circuit did not approve nonconsensual priority-violating
   structured dismissals in general. To the contrary, the court held that they were
   permissible only in those " rare case[s]" in which courts could find "sufficient reasons" to
   disregard priority. 787 F. 3d, at 175,186. Despite the " rare case" limitation, we still cannot
   agree . [p. 16]

   The consequences are potentially serious . ... They include risks of collusion, i.e., senior
   secured creditors and general unsecured creditors teaming up to squeeze out priority
   unsecured creditors . See Bank of America Nat. Trust and Sav. Assn. v. 203 North LaSalle
   Street Partnership, 526 U. S. 434, 444 (1999} (discussing how the absolute priority rule
   was developed in response to " concern with 'the ability of a few insiders, whether
   representatives of management or major creditors, to use the reorganization process to
   gain an unfair advantage"' (quoting H. R. Doc. No. 93-137, pt. I, p. 255 (1973))) ... [pp 17-
   18]

   Structured dismissals also run counter to the objectives of the Model Law, which is the
framework used in the Chapter 15 and CCAA statutes . Per the UNC/TRAL Model Law on Cross-
Border Insolvency with Guide to Enactment and Interpretation:

   69. For a proceeding to qualify for relief under the Model Law, it must be a collective
   proceeding because the Model Law is intended to provide a tool for achieving a
   coordinated, global solution for all stakeholders of an insolvency proceeding. It is not
   intended that the Model Law be used merely as a collection device for a particular
   creditor or group of creditors who might have initiated a collection proceeding in another
   State.

   70. In evaluating whether a given proceeding is collective for the purpose of the Model
   Law, a key consideration is whether substantially all of the assets and liabilities of the
   debtor are dealt with in the proceeding, subject to local priorities and statutory
   exceptions, and to local exclusions relating to the rights of secured creditors.

   The Absolute Priority Rule (APR) is intended to prevent the squeezing out of junior creditors by
giving them the right to vote against a plan of arrangement when it affects their rights . This gave
rise to the collective agreement process leading to the fair and equitable distribution oft he estate' s
property that is intended to make creditors whole to the extent that the available distributable
assets allow. Once the creditors are made whole based on the strict application of the APR, the
remaining assets, if any, are property of the estate. Distributing surplus property to other than the
estate and/or misusing it for purposes that do not advance its best interest deprives the estate of
the means to emerge from insolvency as a going concern and, therefore, runs afoul of the
Bankruptcy Code's "Fair and Equitable Treatment" and the CCAA's "Fair and Reasonable"
arrangements.




                                                                                  Adelso Adrianza 6 I P a g e
Case 1:17-mc-00151-LPS Document 279 Filed 06/03/21 Page 7 of 13 PageID #: 7535


   Here it is important to acknowledge that the unsecured creditors in the CCAA proceedings shall
not be opposing the implementation of a structured dismissal. This because the DIP and the
unsecured Noteholders entered a Standstill Agreement in which the latter waved their right to
pursue a plan of arrangement in exchange for post-filing interest close to 20% p.a. (worth close to
$100 million) . The CCAA court approved the Standstill Agreement before the Supreme Court of
Canada (SCC) decided an appeal on a case decided by Justice Newbould (the bankruptcy Judge
presiding over the Company' s CCAA proceedings from the beginning until he retired a couple of
years later) in which it confirmed that post-petition interest on unsecured debt is not allowed in
the absence of an approved plan of arrangement and cannot exceed 5% p.a. Yet, the MOD scheme
remains in place to date, as if the SSC decision never took place.

   In this regard, there is a basic, yet fundamental tenet of U.S. jurisprudence that negates a party
in legal proceeding to benefit from its own wrongdoing :

   "No one can take advantage of his own wrong ".

   "A party to a contract is not permitted to take advantage of its own breach of duty."

   Neither the Republic, nor the Interested Directors (including two Directors assigned by the
Controlling DIP Lender) or the Controlling DIP Lender should be allowed to benefit from their failure
to adhere to their commitments as parties to a contract and fiduciaries entrusted with the duty to
protect the Estate and the Company's shareholders.


IV. OTHER CONTRAVENTIONS OF THE BANKRUPTCY CODE
   Other contraventions of the Bankruptcy Code that are beyond the scope of this letter, and
whose review is better suited for another venue and occasion , include:

   1. The DI P' s continued disregard of its fiduciary duties to protect the Estate's interests and its
       going-concern viability,
   2. The misappropriation of Estate property,
   3 . The prolific gifting of Estate property to advance the interests of the Interested Directors
       and the Controlling DIP Lender,
   4. The breaches of statutes enacted to protect the interest of the Estate and its stakeholders,
       and Canadian and U.S. interests .

   The actions and omissions by the DIP, the Interested Directors and the Controlling DIP Lender
that underscore the harm to the Estate and the consequential injury to the shareholders have been
disclosed to this Court, the DE Bankruptcy Court, the CCAA Court and the parties involved, including
the Company, the Controlling DIP Lender, the Monitor, and their respective Counsel on several
occasions . The documents involved are part of the case dockets and include :

 • Delaware District Court: D. I. 134, 173, 196, 217 and 233 .
 • Delaware Bankruptcy Court : 311, 312, 313, 314, 318 and 325.
 • Ontario Superior Court - Commercial List : No docket entries.




                                                                                 Adelso Adrianza 7   IPag   e
Case 1:17-mc-00151-LPS Document 279 Filed 06/03/21 Page 8 of 13 PageID #: 7536


   The docket of the CCAA proceedings (ma inta ined by the Monitor on the Ernst & Young
Restructuring Document Center) does not reflect any of the several communications I sent to the
Court and the Monitor regarding the issues affe cting the shareholders' rights and interest. To fill
this information void, I have posted these communications (see Exhibit 1.) in an accessible folder
that can be reached through the following link: https://drive.google.com/drive/folders/1Jj47p93-
WFbf7yU3NqRDwtqkEzsV jw7?usp=sharing


   Because bankruptcy proceedings are primarily an adversarial, evidence-based process, if a
party does not raise an issue, the court is unlikely to address it. In Canada, the cost of defending
one's rights and interests is well beyond the means of individual litigants; specially in cases such as
the Company's bankruptcy proceedings, which began in December 2011. As a result, self-
representation In Canada accounts for more than 50 per cent of the litigants in some civil and family
courts . However, pro se litigants are sidelined by the courts due to concerns such as impartiality
and case management efficiency. Thus, the fact that my efforts to be heard have not been put on
the record is but one more example of a legal system fraught with structural disadvantages for self-
represented individuals.

V. PRAYER FOR RE LIEF
   The relief requested is predicated on the need to protect the property and interests of the
Estate in view of the disregard demonstrated by the DIP and the fiduciaries involved. Towards this
end, I pray to the Court to :

   a) Require the determination of the true and correct amount the Estate is owed by the
         Republic to ensure that the satisfaction of its money judgement under Delaware Law is in
         full to the extent the law allows to wipe out the consequences of the Republic's actions to
         deny and delay the Estate its rightful compensation for the illegal expropriation ,


    b) Protect the right of the U.S. citizens and equity-holders in the Company to timely pursue
         legal remedies in U.S. Courts by requiring an adequate time frame for the shareholders to
         intervene in the hearing to decide the release and transfer of the Estate's property in the
         U.S for final distribution . The lack of such an opportunity would result in irreparable harm
         to the shareholders, given that it would preempt them from defending their interests and
         rights through the irreversible effect of Equ itable Mootness Doctrine,


    c)   Such further and other relief as this Court may deem just and proper.


VI. STANDING
    As a shareholder, I have Article Ill standing under Lujan v. Defenders of Wildlife, 504 U.S. 555,
559 (1992), premised on a party having " (1) suffered an injury in fact, (2) that is fairly traceable to
the challenged conduct ofthe defendant, and (3) that is likely to be redressed by a favorable judicial
decision." Standing is reasserted by the U.S. Supreme Court decision in in Czyzewski v. Jevic Holding
Corp. , No. 15-649, S. Ct., 2017 WL 1066259)




                                                                                   Adelso Adrianza 8 I P a g e
Case 1:17-mc-00151-LPS Document 279 Filed 06/03/21 Page 9 of 13 PageID #: 7537


   Consequently, the Bankruptcy Court's approval of the structured dismissal cost
   petitioners something. They lost a chance to obtain a settlement that respected their
   priority. Or, if not that, they lost the power to bring their own lawsuit on a claim that had
   a settlement value of $3 .7 million . For standing purposes, a loss of even a small amount
   of money is ordinarily an "injury." See, e.g., McGowan v. Maryland, 366 U. S. 420, 430-
   431 (1961) (finding that appellants fined $5 plus costs had standing to assert an
   Establishment Clause challenge) . And the ruling before us could well have cost petitioners
   considerably more. See Clinton v. City of New York, 524 U. S. 417, 430-431 (1998)
   (imposition of a " substantial contingent liability" qualifies as an injury) . A decision in
   petitioners' favor is likely to redress that loss. We accordingly conclude that petitioners
   have standing. [p . 11]

V II. JURISDI CTION AND VE NUE

   Th is Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C. §§1331,
and 1367. Venue is proper in this District pursuant to 28 U.S.C. §1391(b) and (c) .

I thank you in advance for your time and cons ideration




Adelso A. Adrianza

cc: The Honorable Judge L. Seiber Silverstein , Delaware Bankruptcy Court
   The Honorable Mr. Justice Hainey, Ontario Superior Court of Justice
   Mr. Matthew B. Lunn, Young Conaway Stargatt & Taylor, LLP
   Mr. Travis S. Hunter, Richards, Layton & Finger, PA
   Mr. T. Patrick Tinker, Assistant United States Trustee, Region 3
   Mr. R. Fung, President & Chairman , Crystallex International Corp . (RFung@crystallex.com)
   Mr. Robin B. Schwill, Davies Ward Phillips & Vineberg LLP (rschwill@dwpv.com )
   Mr. Brian Denega, Ernst & Young Inc. (brian .m.denega@ca .ey.com)




                                                                                 Adelso Adrianza 9 I P a g e
Case 1:17-mc-00151-LPS Document 279 Filed 06/03/21 Page 10 of 13 PageID #: 7538


                                              EXIBIT 1

                   COMMUNICATION TO THE CCAA COURT AND THE MONITOR

These communications can be accessed via:

https :// d rive.google .com/ d rive/folders/1Jj4 7p93 -WFbf7yU3N q RDwtq kEzsV_jw7?usp=shari ng




  l£    1.0 AAd rianza Comm J     aynes re RY (122617)
  l£    2.0 AAd rianza Comm R ung KRY (020318)
  l£    3.0 AAdrianza Comm R ung KRY (030618)
  [.i   4.0 AAdrianza Comm R Fung     RY (052618)
  (£    4.1 AAd rianza Comm R ung KRY (052618) - E CLO SURE
  l£    5.0 A Adrianza Co ,m to J Sw artz OW V (053118)
  l£    6.0 AAd rianza Comm KRY     on itor (120418)
  [{ 7.0 AAd rianza Comm DE District Court (021919)
  l£    8.0 AAd rianza Comm R Fung    RY (101519)
  l£    8.1 AAdrianza Comm R ung KRY (101519) - E CLOSURE
  [£    9.0 AAdrianza Com ,   RY (032420)
  l£    10.0 AAdrianza Com    EY BO (032920)
  l£    11.0 AAdrianza Com , J     RYSC (040320)
  l£    12.0 AAd rianza Com , J   ainey (042020)
  ~ 13.0 AAd rianza Com m DE Bcky Court (052820)
  l£    14.0 AAdrianza Comm DE Bcky Court (071420)
  l£    15.0 AAdrianza Com , J    ainey RY (103020)
  l£    16.0 AAd rianza Com , JJ R Strathy O CA     RY (110620)
  [{ 17.0 AAd rianza Com m DE Bcky Court (121420)




                                                                               Adelso Adrianza 10   I P age
Case 1:17-mc-00151-LPS Document 279 Filed 06/03/21 Page 11 of 13 PageID #: 7539




      Adelso Adrianza
      113 Washington Street
      Newton, MA 02458




          The Honorable
          Chief Judge Leonard Stark
          U.S. Oistrict Court- Delaware
          844 N. King Street, Unit 26, Room 6124
          Wilmington, DE 19801 - 3555

                                 .,
Case 1:17-mc-00151-LPS Document 279 Filed 06/03/21 Page 12 of 13 PageID #: 7540




                      I        Adelso Adrianza
                      Ir·      113 Washington Street
                               Newton, MA 02458




                                   The Honorable
                                   Chief Judge Leonard Stark
                                   U.S. District Court - Delaware
                 ,T
                                   844 N. King Street, Unit 26, Room 6124
                                   Wilmington, DE 19801 - 3555




                          '.
Case 1:17-mc-00151-LPS Document 279 Filed 06/03/21 Page 13 of 13 PageID #: 7541




                     AOELSO ADRIANZA
                     8159-803-2279                                   0.3 LBS LTR   1 OF 1
                     ADELSO ADRIANZA
                     113 WASHINGTON ST
                     NEWTON MA 02458-2248

                    SHIP TO:
                       THE HONORABLE CHIEF JUDGE L. STARK
                       U.S. DISTRICT COURT - DELAWARE
                       UNIT 26, ROOM 6124
                       844 N KING 8T
                        WILMINGTON DE 19801


                                                 DE 197 9-25
                                                 1111111111111111111111

                   TRACKING If: 1Z &AR 130 02 9888 4419                            2

                            n1111111
                   IILUNO: PIP




                                 )UJl 11 .• .a                   •
                                                     NV• . .. IIA O /Hlla


                   II   :....a-a:5.s-a--:.=-=-=-=====·.-:::··=:::s:-:

                                                               ro) ~ @ tf O'\f[f'01
                                                               lflJ ,JUN O3 2021 ~
